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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

Mark J. Politan
POLITAN LAW, LLC
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Subchapter V Trustee
                                                             Case Nos.: 22-18303 (JKS)
In Re:
                                                             Chapter: 11
ALEXANDRE J. DACOSTA and
VIVIANNE C. ANTUNES,                                         Subchapter V

                                                  Debtors.



              CERTIFICATION OF MARK J. POLITAN IN SUPPORT OF
          APPLICATION FOR COMPENSATION AS SUBCHAPTER V TRUSTEE

            MARK J. POLITAN, of full age, hereby certifies as follows:

                  1.       I am a member of Politan Law, LLC and submit this certification in connection

   with my application for compensation for services rendered as Subchapter V Trustee to the above-

   referenced Debtors for the period from May 1, 2023 through September 30, 2023 (the “Compensation

   Period”) .

                  2.       On December 22, 2022, I was appointed as the Subchapter V Trustee by the Office

   of the United States Trustee. A true copy of my appointment and verified statement are annexed hereto

   as Exhibit A.

                  3.       On June 12, 2023, this Court entered an Order Awarding Compensation covering

   the period from my appointment through April 30, 2023, awarding $8,120.00 in fees and $100.60 in

   expenses (the “First Interim Award”). A true copy of the order awarding the First Interim Award is

   annexed hereto as Exhibit B.
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           4.      Since the entry of the First Interim Award and during the Compensation Period, I

have engaged with the Debtors through their counsel and creditors to evaluate and address issues

necessary to allow the Debtors to propose a confirmable plan of reorganization. Those services

included: (a) engaging in multiple discussions with Debtors’ counsel re: plan strategy; (b) coordinating

with the Office of the United States Trustee re: administrative issues for managing of the case and

joint administration with the corporate case; (c) multiple follow-up inquiries re: status of plan drafting,

settlement discussions with creditors including various floor plan lenders and non-dischargeability

claimants; (d) conferring with Debtor’s counsel re: potential sale of assets and discussions with

secured lenders; (e) addressing filed proofs of claim and supporting documents; (f) addressing multiple

motions to lift stay re: repossessed vehicles; (g) conferring with counsel to corporate entity and counsel

for UST office re: joint administration and prospects for joint plan; (h) reviewing proposed joint plan

of reorganization to make revision suggestions and edits to address applicable statutory requirements;

and (i) engaging with Debtors’ counsel and UST re: consent of creditors to plan, balloting and impact

of non-consensual plan. A detailed description of the services provided and time expended for each

task, together with all expenses incurred is included in the timesheets annexed hereto as Exhibit C.

           5.      In accordance with Title 18 U.S.C. Section 155 and the Rules of this Court, neither

I nor any member of this firm has entered into any agreement, written or oral, express or implied, with

the Debtor, creditors or any other party in interest, or any attorney of such person, for the purpose of

fixing the amount of any of the fees or other compensation to be allowed out of or paid from the assets

of the Debtor.

           6.      In accordance with Section 504 of the Bankruptcy Code, no agreement or

understanding exists between me, my firm or any member thereof, on the one hand, and any other

person, on the other hand, for the division of such compensation as my firm may receive from the



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Court herein, nor will any division of fees prohibited by Section 504 of the Bankruptcy Code be made

by me, or any member of this firm.

           7.      I certify that the foregoing statements made by me are true. I am aware that if any

statements are willfully false, I am subject to punishment.



Dated: October 5, 2023                                   By:    /s/ Mark J. Politan
                                                                MARK J. POLITAN




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